    Case: 1:25-cv-01285 Document #: 54 Filed: 04/07/25 Page 1 of 2 PageID #:362




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



 THE UNITED STATES OF AMERICA,

        Plaintiff,

        v.

 STATE OF ILLINOIS; JB PRITZKER,
 Governor of Illinois, in his Official Capacity;           Case No. 1:25-cv-1285-LCJ
 THE CITY OF CHICAGO; BRANDON
 JOHNSON, Mayor of Chicago, in his Official
 Capacity; LARRY SNELLING, Chicago
 Police Superintendent, in his Official
 Capacity; COOK COUNTY, ILLINOIS;
 COOK COUNTY BOARD OF
 COMMISSIONERS; TONI
 PRECKWINKLE, President of the Cook
 County Board of Commissioners, in her
 Official Capacity; THOMAS J. DART, Cook
 County Sheriff, in his Official Capacity,

        Defendants.




NOTICE OF INTENT TO FILE A REPLY IN SUPPORT OF PLAINTIFF’S MOTION TO
 FILE A CONSOLIDATED MEMORANDUM AND TO SET A BRIEFING SCHEDULE
     FOR ITS ANTICIPATED CROSS-MOTION FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE THAT Plaintiff United States of America, by and through

undersigned counsel, hereby notifies the Court of its intent to file a reply in support of its motion

to file a consolidated memorandum and to set a briefing schedule for its anticipated cross-motion

for summary judgment, ECF No. 45. The United States will file its reply by Tuesday, April 8,

2025, or by another deadline imposed by this Court.

Dated: April 7, 2025.
Case: 1:25-cv-01285 Document #: 54 Filed: 04/07/25 Page 2 of 2 PageID #:363




                                               Respectfully submitted,
                                               YAAKOV M. ROTH
                                               Acting Assistant Attorney General
                                               Civil Division

                                               ERIC J. HAMILTON
                                               Deputy Assistant Attorney General

                                               ALEXANDER K. HAAS
                                               Director

                                               JACQUELINE COLEMAN SNEAD
                                               Assistant Director

                                               CRISTEN C. HANDLEY
                                               ELISABETH J. NEYLAN
                                               Trial Attorneys
                                               Federal Programs Branch

                                               Attorneys for the United States




                                    2
